           Case 25-03365 Document 9 Filed in TXSB on 07/16/25 Page 1 of 2
                                                                           United States Bankruptcy Court
                                                                               Southern District of Texas

                                                                                  ENTERED
                        IN THE UNITED STATES BANKRUPTCY COURT                     July 14, 2025
                          FOR THE SOUTHERN DISTRICT OF TEXAS                   Nathan Ochsner, Clerk
                                   HOUSTON DIVISION

IN RE:                                      §
                                            §      CASE NO: 25-31187
CHARLES RAY MOSELY,                         §
                                            §      CHAPTER 13
           Debtor.                          §
                                            §
CHARLES RAY MOSELY,                         §
                                            §
           Plaintiff,                       §
                                            §
VS.                                         §      ADVERSARY NO. 25-3365
                                            §
SELENE FINANCE LP,                          §
                                            §
           Defendant.                       §

                                          ORDER
                                  STRIKING PLEADING
                                    Resolving ECF No. 3


        The Defendant¶s Motion to Dismiss and Brief in Support1 is hereby STRUCK from the
record for failure to contain BLR 9013-1(b) notice language.

           SIGNED July 14, 2025


                                                  ________________________________
                                                          Eduardo V. Rodriguez
                                                   Chief United States Bankruptcy Judge




1
    ECF No. 3.
                        Case 25-03365 Document 9 Filed in TXSB on 07/16/25 Page 2 of 2
                                                              United States Bankruptcy Court
                                                                Southern District of Texas
Mosely,
       Plaintiff                                                                                                       Adv. Proc. No. 25-03365-evr
Selene Finance LP,
       Defendant
                                                     CERTIFICATE OF NOTICE
District/off: 0541-4                                                  User: ADIuser                                                               Page 1 of 1
Date Rcvd: Jul 14, 2025                                               Form ID: pdf111                                                            Total Noticed: 2
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Jul 16, 2025:
Recip ID                 Recipient Name and Address
pla                    + Charles Ray Mosely, 3005 Nita, Houston, TX 77051-4139

TOTAL: 1

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI). Electronic transmission is in Eastern
Standard Time.
Recip ID                 Notice Type: Email Address                                     Date/Time                 Recipient Name and Address
dft                    + Email/Text: bkteam@selenefinance.com
                                                                                        Jul 14 2025 20:20:00      Selene Finance LP, 3501 Olympus Blvd. 5th Fl.,
                                                                                                                  Ste. 500, Dallas, TX 75019-6295

TOTAL: 1


                                                       BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
NONE


                                                      NOTICE CERTIFICATION
I, Gustava Winters, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Jul 16, 2025                                            Signature:           /s/Gustava Winters




                                  CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on July 14, 2025 at the address(es) listed below:
Name                               Email Address
Caroline Elizabeth Allen
                                   on behalf of Defendant Selene Finance LP callen@sanderscollins.com


TOTAL: 1
